Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 1 of 27 PageID #:16




                     EXHIBIT A
 Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 2 of 27 PageID #:17



Int. CI.: 30
Prior U.S. Cl.: 46
                                                                                   Reg. No. 1,000,007
United States Patent 0Mce                                                    Registered Dec. 17, 1974


                                            TRADEMARK
                                            Principal Register



                                            STARBURST

Mars, Incorporated (Delaware corporation)               For: FRUIT CANDY. in CLASS 46 (INT. CL. 30).
100 W. 10th St.                                         First use Mar. 21, 1966; in commerce Mar. 21, 1966.
Wilmington, Del.
                                                        Ser. No. 449.666, filed Feb. 23. 1973.
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 3 of 27 PageID #:18




   Int. CL: 30
   Prior U.S. Cl.: 46
                                                                                      Reg. No. 1,000,007
   United States Patent Office                                                  Registered Dec. 17, 1974


                                               TRADEMARK
                                               Principal Register



                                               STARBURST

   Mars, Incorporated (Delaware corporation)               For: FRUIT CANDY, in CLASS 46 (INT. CL. 30).
   100 W. 10th St.                                         First use Mar. 21, 1966; in commerce Mar. 21, 1966.
   Wilmington, Del.
                                                           Ser. No. 449,666, filed Feb. 23, 1973.
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 4 of 27 PageID #:19


   Int. Cl.: 30
   Prior U.S. Cl.: 46
                                                               Reg. No. 1,000,007
   United States Patent and Trademark Office              Registered Dec. 17,1974
   10 Year Renewal                              Renewal Term Begins Dec. 17, 1994

                                TRADEMARK
                            PRINCIPAL REGISTER



                                  STARBURST




   MARS, INCORPORATED (DELAWARE              FOR: FRUIT CANDY, IN CLASS 46
     CORPORATION)                          (INT. CL. 30).
   100 W. 10TH ST.                           FIRST USE 3-21-1966; IN COMMERCE
   WILMINGTON, DE                          3-21-1966.

                                             SER. NO. 72-449,666, FILED 2-23-1973.




                  In testimony whereof I have hereunto set my hand
                  and caused the seal of The Patent and Trademark
                  Office to be affixed on Feb. 21, 1995.




                  COMMISSIONER OF PATENTS AND TRADEMARKS
 Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 5 of 27 PageID #:20




Int. CL: 30
Prior U.S. CL: 46
                                                                                   Reg. No. 1,000,007
United States Patent Office                                                  Registered Dec. 17, 1974


                                            TRADEMARK
                                            Principal Register



                                            STARBURST

Mars, Incorporated (Delaware corporation)               For: FRUIT CANDY, in CLASS 46 (INT. CL. 30).
100 W. 10th St.                                         First use Mar. 21, 1966; in commerce Mar. 21, 1966.
Wilmington, Del.
                                                        Ser. No. 449,666, filed Feb. 23, 1973.
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 6 of 27 PageID #:21



Int. C1.: 30
Prior U.S. Cl.: 46
                                                            Reg. No. 1,000,007
United States Patent and Trademark Office              Registered Dec. 17, 1974
10 Year Renewal                              Renewal Term Begins Dec. 17, 1994


                              TRADEMARK
                          PRINCIPAL REGISTER



                               STARBURST




MARS, INCORPORATED (DELAWARE                FOR: FRUIT CANDY, IN CLASS 46
  CORPORATION)                           (INT. CL. 30).
100 W. 10TH ST.                            FIRST USE 3-21-1966; IN COMMERCE
WILMINGTON, DE                           3-21-1966.
                                          SER. NO. 72-449,666, FILED 2-23-1973.




               In testimony whereof I have hereunto set my hand
               and caused the seal of The Patent and Trademark
               Office to be affixed on Feb. 21, 1995.




               COMMISSIONER OF PATENTS AND TRADEMARKS
                    Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 7 of 27 PageID #:22



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Wednesday, January 7, 2015 11:00 PM
To:                        trademark.department@wrigley.com
Subject:                   Official USPTO Notice of Acceptance and Renewal Sections 8 and 9: U.S. Trademark RN 1000007: STARBURST

Serial Number: 72449666
Registration Number: 1000007
Registration Date: Dec 17, 1974
Mark: STARBURST
Owner: Wm. Wrigley Jr. Company



                                                                                 Jan 7, 2015

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.



                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
046




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500



                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=72449666. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 8 of 27 PageID #:23




   Int. Cl.: 30
   Prior U.S. Cl.: 46
                                                             Reg. No. 1,545,544
   United States Patent and Trademark Office                  Registered June 27, 1989


                               TRADEMARK
                            PRINCIPAL REGISTER



                        Marburst
   MARS, INCORPORATED (DELAWARE COR-    OWNER OF U.S. REG. NOS. 982,575, 1,000,007,
     PORATION)                         AND 1,002,984.
   6885 ELM STREET
   MCLEAN, VA 22101
                                         SER. NO. 756,140, FILED 10-5-1988.
     FOR: CANDY, IN CLASS 30 (U.S. CL. 46).
     FIRST USE 11-0-1982; IN COMMERCE ROBERT F. GARCIA, EXAMINING ATTOR-
   11-0-1982.                               NEY
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 9 of 27 PageID #:24




    Int. CL: 30
    Prior U.S. CI.: 46
                                                                 Reg, No. 1,545,544
    United States Patent and Trademark Office              Registered June 27, 1989
    Amended                                                 OG Date Apr. 23, 1996


                                TRADEMARK
                            PRINCIPAL REGISTER




    MARS, INCORPORATED (DELAWARE             THE MARK IS LINED FOR THE
      CORPORATION)                         COLORS RED AND YELLOW.
    6885 ELM STREET                          FOR: CANDY, IN CLASS 30 (U.S. CL.
    MCLEAN, VA 221013883                   46).
                                             FIRST USE 11-0-1982; IN COMMERCE
      OWNER OF U.S. REG. NOS. 982,575,     11-0-1982.
    1,000,007 AND 1,002,984.                 SER. NO. 73-756,140, FILED 10-5-1988.




                  In testimony whereof I have hereunto set my hand
                  and caused the seal of The Patent and Trademark
                  Office to be affixed on Apr. 23, 1996.




                  COMMISSIONER OF PATENTS AND TRADEMARKS
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 10 of 27 PageID #:25


                                             r
Int. Cl.: 30
Prior U.S. Cl.: 46
                                                          Reg. No. 1,545,544
United States Patent and Trademark Office                  Registered June 27, 1989


                           TRADEMARK
                        PRINCIPAL REGISTER



                     Starbursi
MARS, INCORPORATED (DELAWARE COR-    OWNER OF U.S. REG. NOS. 982,575, 1,000,007,
  PORATION)                         AND 1,002,984.
6885 ELM STREET
MCLEAN, VA 22101
                                      SER. NO. 756,140, FILED 10-5-1988.
  FOR: CANDY, IN CLASS 30 (U.S. CL. 46).
  FIRST USE 11-0-1982; IN COMMERCE ROBERT F. GARCIA, EXAMINING ATTOR-
11-0-1982.                               NEY
               Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 11 of 27 PageID #:26



Side - 1



                                               NOTICE OF ACCEPTANCE OF §8
                                               DECLARATION AND §9 RENEWAL
                                               MAILING DATE: Jan 14, 2010



The declaration and renewal application filed in connection with the registration identified below meets the requirements of Sections 8 and 9 of the
Trademark Act, 15 U.S.C. §§1058 and 1059. The declaration is accepted and renewal is granted. The registration remains in force.

For further information about this notice, visit our website at: http://www.uspto.gov. To review information regarding the referenced registration, go to
http://tarr.uspto.gov.

REG NUMBER:                   1545544
MARK:                         STARBURST
OWNER:                        Wm. Wrigley Jr. Company

Side - 2
UNITED STATES PATENT AND TRADEMARK OFFICE
COMMISSIONER FOR TRADEMARKS                                                                                                    FIRST-CLASS MAIL
P.O. BOX 1451                                                                                                                    U.S POSTAGE
ALEXANDRIA, VA 22313-1451                                                                                                            PAID




                                                     Stacy P. Chronopoulos
                                                     WM. WRIGLEY JR. COMPANY
                                                     410 NORTH MICHIGAN AVENUE
                                                     CHICAGO, IL 60611
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 12 of 27 PageID #:27




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                                            liniteb *tato Patent (tub Trabenuta Office




                                 STARBURST
Reg. No. 4,175,344                                          WM. WRIGLEY JR. COMPANY (DELAWARE CORPORATION)
                                                            410 NORTH MICHIGAN AVENUE
Registered July 17, 2012                                    CHICAGO, IL 60611

Int. Cl.: 3                                                 FOR: LIP GLOSS, IN CLASS 3 (U.S. CLS. 1, 4, 6, 50, 51 AND 52).

                                                            FIRST USE 12-0-2005; IN COMMERCE 1-0-2006.
TRADEMARK
                                                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
PRINCIPAL REGISTER                                          TICIJEAR FONT, STYI,E, SIZE, OR COLOR.

                                                            SER. NO. 85-478,034, FILED 11-21-2011.

                                                            KATHLEEN LORENZO, EXAMINING ATTORNEY




00,.:01 74
Director of the United States Patent and Trademark Office
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 13 of 27 PageID #:28




                             REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                    TRADEMARK REGISTRATION

        WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
               DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

    Requirements in the First Ten Years*
    What and When to File:

               First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
              5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
              accepted, the registration will continue in force for the remainder of the ten-year period, calculated
              from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
              federal court.

               Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
              Application for Renewal between the 9th and 1 Oth years after the registration date.*
              See 15 U.S.C. §1059.

    Requirements in Successive Ten-Year Periods*
    What and When to File:

              You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
              every 9th and 10th-year period, calculated from the registration date.*

    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above
    with the payment of an additional fee.


      The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                   reminder of these filing requirements.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration witl
    an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
    of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
    based on the U.S. registration date (not the international registration date). The deadlines and grace periods
    for the Declarations of Usc (or Excusable Nonusc) arc identical to those for nationally issued registrations.
    See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file renewal applications
    at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
    International Bureau of the World Intellectual Property Organization, under .A rticle 7 of the Madrid Protocol,
    before the expiration of each ten-year term of protection, calculated from the date of the international
    registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international registration,
    see http://www.wipo.intimadridieni.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online
    at http://www.uspto.gov.




                                              Page: 2 / RN # 4,175,344
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 14 of 27 PageID #:29




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                              Qiniteb *tato Patent (tub Trabenuta Office




                      STARBURST
Reg. No. 4,625,960                      WM. WRIGLEY JR. COMPANY (DELAWARE CORPORATION)
                                        1132 W. BLACKHAWK ST.
Registered Oct. 21, 2014                CHICAGO, IL 60642

Int. Cl.: 30                            FOR: FROZEN CONFECTIONS, IN CLASS 30 (U.S. CL. 46).

                                        FIRST USE 2-28-2014; IN COMMERCE 2-28-2014.
TRADEMARK
                                        THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
PRINCIPAL REGISTER                      TIC1JLAR FONT, STYLE, SIZE, OR COLOR.

                                        OWNER OF U.S. REG. NOS. 1,000,007 AND 1,545,544.

                                        SN 86-029,183, FILED 8-5-2013.

                                        MICHAEL ENGEL, EXAMINING AFIORNEY




 Deputy Director of the United States
   Patent and Trademark Office
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 15 of 27 PageID #:30




                             REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                    TRADEMARK REGISTRATION

        WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
               DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

    Requirements in the First Ten Years*
    What and When to File:

               First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
              5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
              accepted, the registration will continue in force for the remainder of the ten-year period, calculated
              from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
              federal court.

               Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
              Application for Renewal between the 9th and 1 Oth years after the registration date.*
              See 15 U.S.C. §1059.

    Requirements in Successive Ten-Year Periods*
    What and When to File:

              You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
              every 9th and 10th-year period, calculated from the registration date.*

    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above
    with the payment of an additional fee.


      The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                   reminder of these filing requirements.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration witl
    an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
    of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
    based on the U.S. registration date (not the international registration date). The deadlines and grace periods
    for the Declarations of Usc (or Excusable Nonusc) arc identical to those for nationally issued registrations.
    See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file renewal applications
    at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
    International Bureau of the World Intellectual Property Organization, under .A rticle 7 of the Madrid Protocol,
    before the expiration of each ten-year term of protection, calculated from the date of the international
    registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international registration,
    see http://www.wipo.intimadridieni.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online
    at http://www.uspto.gov.




                                              Page: 2 / RN # 4,625,960
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 16 of 27 PageID #:31




  Int. Cl.: 30

  Prior U.S. Cl.: 46
                                                                                  Reg. No. 1,221,105
  United States Patent and Trademark Office                                        Registered Dec. 21, 1982


                                              TRADEMARK
                                              Principal Register



                                                SKITTLES



  Mars, Incorporated (Delaware corporation)                For: CANDY, in CLASS 30 (U.S. Cl. 46).
  1651 Old Meadow Rd.                                      First use Mar. 10, 1971; in commerce Mar. 10,
  McLean, Va. 22102                                     1971.

                                                           Ser. No. 305,850, filed Apr. 14, 1981.

                                                        RICHARD A. STRASER, Examining Attorney
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 17 of 27 PageID #:32




   Int. Cl.: 30
   Prior U.S. Cl.: 46
                                                                                 Reg. No. 1,221,105
   United States Patent and Trademark Office                                       Registered Dec. 21, 1982


                                              TRADEMARK
                                              Principal Register


                                                SKITTLES



  Mars, Incorporated (Delaware corporation)                For: CANDY, in CLASS 30 (U.S. Cl. 46).
  1651 Old Meadow Rd.                                      First use Mar. 10, 1971; in commerce Mar. 10,
  McLean, Va. 22102                                     1971.

                                                          Ser. No. 305,850, filed Apr. 14, 1981.

                                                        RICHARD A. STRASER, Examining Attorney
                   Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 18 of 27 PageID #:33



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Thursday, January 26, 2012 11:00 PM
To:                        trademark.department@wrigley.com
Subject:                   Trademark RN 1221105: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the Trademark Act

Serial Number: 73305850
Registration Number: 1221105
Registration Date: Dec 21, 1982
Mark: SKITTLES
Owner: Wm. Wrigley Jr. Company



                                                                                 Jan 26, 2012

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.



                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
030




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500



                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=73305850. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 19 of 27 PageID #:34




  Int. Cl.: 30
  Prior U.S. Cl.: 46
                                                                  Reg. No. 1,331,145
  United States Patent and Trademark Office                         Registered Apr. 16, 1985


                                       TRADEMARK
                                  PRINCIPAL REGISTER




                       Ski
  MARS, INCORPORATED (DELAWARE COR-
    PORATION)
                                               FIRST USE 0-0-1982; IN COMMERCE
                                             0-0-1982.
  6885 ELM ST.                                 OWNER OF U.S. REG. NO. 1,221,105.
  MCLEAN, VA 22101
                                              SER. NO. 491,330, FILED 7-23-1984.

    FOR: CANDY, IN CLASS 30 (U.S. CL. 46).   ROGER KATZ, EXAMINING ATTORNEY
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 20 of 27 PageID #:35




  Int. Cl.: 30
  Prior U.S. Cl.: 46
                                                                 Reg. No. 1,331,145
  United States Patent and Trademark Office                        Registered Apr. 16, 1985


                                      TRADEMARK
                                 PRINCIPAL REGISTER




  MARS, INCORPORATED (DELAWARE COR-           FIRST USE 0-0-1982; IN COMMERCE
    PORATION)                               0-0-1982.
  6885 ELM ST.                                OWNER OF U.S. REG. NO. 1,221,105.
  MCLEAN, VA 22101
                                             SER. NO. 491,330, FILED 7-23-1984.

   FOR: CANDY, IN CLASS 30 (U.S. CL. 46).   ROGER KATZ, EXAMINING ATTORNEY
               Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 21 of 27 PageID #:36



Side - 1



                                               NOTICE OF ACCEPTANCE OF §8
                                               DECLARATION AND §9 RENEWAL
                                               MAILING DATE: Jul 25, 2006



The declaration and renewal application filed in connection with the registration identified below meets the requirements of Sections 8 and 9 of the
Trademark Act, 15 U.S.C. §§1058 and 1059. The declaration is accepted and renewal is granted. The registration remains in force.

For further information about this notice, visit our website at: http://www.uspto.gov. To review information regarding the referenced registration, go to
http://tarr.uspto.gov.

REG NUMBER:                   1331145
MARK:                         SKITTLES AND DESIGN
OWNER:                        Mars, Incorporated

Side - 2
UNITED STATES PATENT AND TRADEMARK OFFICE
COMMISSIONER FOR TRADEMARKS                                                                                                    FIRST-CLASS MAIL
P.O. BOX 1451                                                                                                                    U.S POSTAGE
ALEXANDRIA, VA 22313-1451                                                                                                            PAID




                                                     LESLIE K MITCHELL
                                                     FITZPATRICK, CELLA, HARPER & SCINTO
                                                     277 PARK AVE
                                                     NEW YORK, NY 10172
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 22 of 27 PageID #:37




              Int. CL: 30
              Prior U.S. Cl.: 46                                         Reg. No. 1,331,145
              United States Patent and Trademark Office           Registered Apr. 16, 1985
              10 Year Renewal/Amended                   Renewal Term Begins Apr. 16, 2005

                                            TRADEMARK
                                        PRINCIPAL REGISTER




              MARS, INCORPORATED (DELAWARE             FOR: CANDY, IN CLASS 30 (U.S. CL.
                CORPORATION)                        46).
              6885 ELM ST.                             FIRST USE 0-0-1982; IN COMMERCE
              MCLEAN, VA 22101                      0-0-1982.
                OWNER OF U.S. REG. NO. 1,221,105.      SER. NO. 73-491,330, FILED 7-23-1984.




                         In testimony whereof I have hereunto set my hand
                         and caused the seal of The Patent and Trademark
                         Office to be affixed on Sep. 5, 2006.




                    DIRECTOR OF THE U.S. PATENT AND TRADEMARK OFFICE
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 23 of 27 PageID #:38




  Int. Cl.: 30
  Prior U.S. Cl.: 46
                                                                        Reg. No. 2,535,714
  United States Patent and Trademark Office                                Registered Feb. 5, 2002


                                        TRADEMARK
                                   PRINCIPAL REGISTER




  MARS, INCORPORATED (DELAWARE COR-              THE DRAWING IS NOT LINED FOR COLOR.
     PORATION)                                  THE STIPPLING IS FOR SHADING PURPOSES
  6885 ELM STREET                               ONLY AND DOES NOT INDICATE COLOR.
  MCLEAN, VA 221013883

    FOR CONFECTIONERY, NAMELY, CANDY, IN
  CLASS 30 (U.S. CL. 46).                        SER. NO. 76-010,416, FILED 3-27-2000.

    FIRST USE 7-0-1982; IN COMMERCE 7-0-1982.
                                                BARBARA A. LOUGHRAN, EXAMINING ATTOR-
    OWNER OF U.S. REG. NO. 1,687,121.            NEY
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 24 of 27 PageID #:39




Int. Cl.: 30
Prior U.S. Cl.: 46
                                                                     Reg. No. 2,535,714
United States Patent and Trademark Office                               Registered Feb. 5, 2002


                                    TRADEMARK
                                 PRINCIPAL REGISTER




MARS, INCORPORATED (DELAWARE COR-             THE DRAWING IS NOT LINED FOR COLOR.
   PORATION)                                 THE STIPPLING IS FOR SHADING PURPOSES
6885 ELM STREET                              ONLY AND DOES NOT INDICATE COLOR.
MCLEAN, VA 221013883

  FOR: CONFECTIONERY, NAMELY, CANDY, IN
CLASS 30 (U.S. CL. 46).                       SER. NO. 76-010,416, FILED 3-27-2000.

 FIRST USE 7-0-1982; IN COMMERCE 7-0-1982.
                                             BARBARA A. LOUGHRAN, EXAMINING ATTOR-
 OWNER OF U.S. REG. NO. 1,687,121.            NEY
                   Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 25 of 27 PageID #:40



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Thursday, February 23, 2012 11:00 PM
To:                        trademark.department@wrigley.com
Subject:                   Trademark RN 2535714: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the Trademark Act

Serial Number: 76010416
Registration Number: 2535714
Registration Date: Feb 5, 2002
Mark: S(STYLIZED/DESIGN)
Owner: Wm. Wrigley Jr. Company



                                                                                 Feb 23, 2012

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.



                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
030




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500



                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=76010416. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 26 of 27 PageID #:41




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                                            Qiniteb *tato Patent (tub Trabenuta Office




Reg. No. 4,393,854                                            WM. WRIGLEY JR. COMPANY (DELAWARE CORPORATION)
                                                              1132 WEST BLACKHAWK STREET
Registered Aug. 27, 2013                                      cmcnoo, II. 60642

Int. Cl.: 30                                                  FOR: CANDY, IN CLASS 30 (U.S. CL. 46).

                                                              FIRST USE 12-31-2012; IN COMMERCE 12-31-2012.
TRADEMARK
                                                              OWNER OF U.S. REG. NOS. 1,221,105, 3,101,167, AND OTHERS.
PRINCIPAL REGISTER
                                                              THE MARK CONSISTS OF THE WORD "SKITTLES", AN "S" LENTIL - SHAPED PIECE
                                                              OVER THE LETTER "I" IN THE WORD "SKITTLES" AND A DISTINCTIVE RAINBOW
                                                              DESIGN BEHIND THE WORD "SKITTLES", WITH ''S" LENTIL - SHAPED PIECES OVER
                                                              THE RAINBOW.

                                                              SN 85-719.890, FILED 9-4-2012.

                                                              BARNEY CI IARLON, EXAMINING ATTORNEY




Actin, Duedm of the United Slnles Prlent   Tnideanut Office
Case: 1:18-cv-00642 Document #: 1-1 Filed: 01/29/18 Page 27 of 27 PageID #:42




                             REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                    TRADEMARK REGISTRATION
        WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
               DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

    Requirements in the First Ten Years*
    What and When to File:

               First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
              5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
              accepted, the registration will continue in force for the remainder of the ten-year period, calculated
              from the registration date. unless cancelled by an order of the Commissioner for Trademarks or a
              federal court.

               Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
              Application for Renewal between the 9th and I Oth years after the registration date.*
              See 15 U.S.C. §1059.

    Requirements in Successive Ten-Year Periods*
    What and When to File:

              You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
              every 9th and 10th-year period, calculated from the registration date.*

    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above
    with the payment of an additional fee.


      The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                   reminder of these filing requirements.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
    an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
    of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
    based on the U.S. registration date (not the international registration date). The deadlines and grace periods
    for the Declarations of Use (or Excusable Nonuse) arc identical to those for nationally issued registrations.
    See 15 U. S.C. §§1058. 1141k. However, owners of international registrations do not file renewal applications
    at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
    International Bureau of the World Intellectual Properly Organization, under Article 7 of the Madrid Protocol,
    before the expiration of each ten-year term of protection, calculated from the date of the international
    registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international registration,
    see http://www.wipo.int/madrid/en/.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online
    at http://www.uspto.gov.




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